      Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 1 of 26




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARY C. TERRELL,                               )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )      CIVIL ACTION FILE NO.:
                                               )      1:21-CV-04613-MHC-CMS
CITY OF FOREST PARK, et al.                    )
                                               )
Defendants.                                    )

                    PLAINTIFF’S INITIAL DISCLOSURES

       Pursuant to Fed. R. Civ. P. 26(a)(1) and N.D. Ga. L. R. 26, Plaintiff Mary C.

Terrell serves her Initial Disclosures on Defendants, stating as follows:

(1)    State precisely the classification of the cause of action being filed, a brief
       factual outline of the case including plaintiff’s contentions as to what
       defendants did or failed to do, and a succinct statement of the legal issues
       in the case.

       Cause of action:

       Plaintiff Mary Terrell asserts claims against all Defendants for race

discrimination in violation of her rights under the Equal Protection Clause of the

Fourteenth Amendment to the United States Constitution, pursuant to 42 U.S.C.

§1983, and for race discrimination and retaliation for her engagement in protected

activity, in violation of 42 U.S.C. §1981. In addition, Plaintiff asserts claims against

the City of Forest Park for: (1) race discrimination and retaliation for her engagement
     Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 2 of 26




in protected activity, in violation of Title VII of the Civil Rights Act of 1964; (2) age

discrimination in violation of the Age Discrimination in Employment Act

(“ADEA”), 69 U.S.C. §621, et seq; and (3) disability discrimination in violation of

the Americans with Disabilities Act, as amended.

      Plaintiff seeks back pay and all benefits, privileges and rights previously

denied, reinstatement to her former position or front pay, liquidated damages,

compensatory damages, punitive damages, declaratory relief, injunctive relief, her

costs in this action and reasonable attorneys’ fees, and all other appropriate damages,

remedies and other relief available under the 42 U.S.C. §§1981 and 1983, Title VII,

the ADEA, the ADA, as amended, and federal statutes providing remedies for

violations of the same.

      Brief factual outline:

      Plaintiff Mary C. Terrell, who is white, was employed by the City of Forest Park

from August 1990 until her employment was terminated, on December 18, 2019. In

1994, she was promoted to be the City’s Personnel Director; she remained in this role

until July 2002, when her title was changed to Director of Support Services. She

remained so employed until her termination.

      In 2018, the City experienced a significant change in its leadership. During

2017, Defendant Butler was elected Mayor, and Defendant James was elected to the


                                           2
    Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 3 of 26




City Council. Their terms in office began in January 2018. Butler was the City’s first

African-American Mayor, and upon the beginning of Butler’s and James’ terms in

office, the City Council, which consists of the mayor and five councilmembers, was

for the first time majority African-American. When Mayor Butler and Councilwoman

James took office, the remainder of the City Council consisted of Defendant Wells and

Defendant Antoine, who were each re-elected in 2017, and Allan Mears and Sandra

Bagley, who are not parties to this case. Of these persons, Mears and Bagley were

Caucasian; all others were African-American. Also in 2018, Defendant Redding was

made the City Manager for the City of Forest Park; she is also African-American.

      Beginning in early 2018 and continuing into 2019, members of the City Council,

including Defendants Butler, James, Wells, and Antoine, discussed making and

decided to make changes to the City’s leadership team. In meetings among members

of the City Council and others, Butler, James, Wells, and Antoine complained that the

leaders of various City departments and other City employees had “been there too

long” and stated that the department leaders needed to “look more like” them. In other

words, they complained that the leaders of the City’s departments were too old and too

white. Butler, James, Wells, and Antoine believed that the City’s department directors,

including Plaintiff, were too old and should be replaced by African-American

directors, so that the City’s departmental leadership looked “more like” them.


                                          3
    Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 4 of 26




      Beginning in 2018 and continuing through, at least, the termination of Plaintiff’s

employment, the City, pursuant to the direction of Butler, James, Wells, Antoine, and

Redding, who was supervised by the City Council, terminated or forced the

resignations of white City employee, a number of whom were over the age of 40, and

replaced them, primarily, with African-Americans who were also substantially

younger than the persons who were over 40. In addition, during the City Council’s first

meeting of 2018, Defendants James, Wells, and Antoine voted to take several steps to

strip white employees and former-employees of their employment duties or honors

previously bestowed by the City, including:

   • stripping Dwayne Hobbs, who is white, of his duties as interim City Manager
     and making Defendant Redding City Manager;

   • terminating the City Solicitor, Jerry Patrick, who is white (he was later replaced
     by Leslie Terry, an African-American female); and

   • removing the names of two white former City employees from City-owned
     buildings that were previously named in their honor.

On October 1, 2018, the City, at the individual Defendants’ direction, terminated the

employment of former Chief of Police Dwayne Hobbs, who was white and was

approximately 63 years old; he was replaced by an African-American chief of police

who was substantially younger.

      In addition to Chief Hobbs, since January 2, 2018, the City terminated or forced



                                          4
     Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 5 of 26




the resignations of approximately fifteen white City employees, the vast majority of

whom were City management personnel, and replaced them, primarily, with African-

Americans. Of those persons who were terminated or forced to resign, nearly half were

over the age of 40 and were also replaced by persons who were substantially younger.

      Additionally, following the announcement of the resignation of now-former

City fire chief, Eddie Buckholts, who is white, the City began attempting to recruit a

new fire chief. The City made completion of the “Carl Holmes Executive Development

Institute” one of the necessary “minimum qualifications” for the job opening.

According to its website, this institute was created “to address the problem of African-

Americans in the fire service being denied the opportunity to receive cutting edge

management training.” Plaintiff contends that the institute only admitted and trained

African-American firefighters and that by making graduation from the institute a

“minimum qualification” for the vacancy, the City only considered hiring African-

Americans to fill that role.

      In short, at the direction and control of the individual Defendants and in a

purported effort to “diversify” its workforce, the City engaged in a pattern and practice

of terminating older, white employees due to their age and race and replacing them

with African-American persons who were substantially younger.

      In 2016, Plaintiff suffered an on-the-job fall, which left her with injuries that


                                           5
     Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 6 of 26




thereafter substantially limited her ability to perform major life activities. Following

her injury and continuing until her termination, Plaintiff required periodic medical

appointments for care of the injuries she suffered; Plaintiff filed a workers

compensation claim and received workers compensation benefits, which were still in

place for her ongoing care at the time of her termination. Throughout 2018 and 2019,

when Plaintiff informed Defendant Redding that she needed to take leave to go to

doctors’ appointments, Redding expressed frustration and questioned the need for

Plaintiff to go to the doctor.

       As Director of Support Services, Plaintiff’s job duties included, among other

things: all activities relevant to the personnel function of the City government (e.g.,

participating in investigations of employees and in employee discipline decisions);

ensuring the City’s compliance with federal, state, and local employment laws;

overseeing all City employee terminations, conducting exit interviews, and

determining reasons behind separation; approving all executive summaries, budget

amendments, and other documents being submitted or presented to the City Council;

and consulting with and advising the City Manager and City Council concerning

department operations and problem resolution. However, beginning in late 2018,

Defendants began excluding Plaintiff from personnel issues and investigations and

disallowing her to provide input or support to the City Council with respect to the


                                           6
    Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 7 of 26




personnel actions taken. Previously, she was consistently involved in such

employment concerns, as they fell squarely within her job duties. Believing that she

was being set up for termination, due to her age and race, Plaintiff complained to

Defendant Redding about the actions being taken. She told Redding that she was not

being permitted to perform her job, that she felt she was being discriminated against,

and that she felt she was being set up for termination. Redding took no action to allow

Plaintiff to resume performing her job duties or to otherwise alleviate Plaintiff’s

concerns.

      After Plaintiff complained about discrimination, Defendants continued to

exclude Plaintiff from personnel issues and investigations and disallow her input to the

City Council regarding personnel actions. In addition, Defendant Butler requested and

obtained a copy of Plaintiff’s workers compensation file, which contained her

confidential medical information. When Plaintiff learned of this request, she objected

to both Defendant Redding and the City’s personnel attorney. Butler later shared the

worker’s compensation file, or information she garnered from it, with the other

Defendants during the meeting in which they decided to terminate Plaintiff’s

employment. In October 2019, Defendant Redding provided a copy of Plaintiff’s

personnel file to the remaining individual Defendants, and the Defendants decided to

terminate Plaintiff’s employment with the City. Plaintiff contends that Defendants


                                           7
     Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 8 of 26




terminated her employment because she was white, disabled, and, they believed, too

old and in retaliation for her complaints about discrimination.

       During the meeting in which Defendants decided to terminate Plaintiff’s

employment, Defendants Butler, James, Wells, and Antoine directed Defendant

Redding to obtain information that would, purportedly, justify terminating Plaintiff’s

employment. On November 21, 2019, Defendant Redding informed Plaintiff that she

had until 12:15pm the following day to either resign in lieu of termination or be fired,

effective immediately at that time. During the termination meeting, Defendant Redding

vaguely stated four reasons for the termination, which Plaintiff contends were simply

pretext for discrimination. Plaintiff did not resign, and on November 22, 2019,

Defendant Redding provided her with a letter titled “Notice of Termination of

Employment,” which re-stated the same four purported reasons for the termination.

Plaintiff’s termination became effective on December 18, 2019. Following her

termination, after a brief interim period, the City filed her position by hiring an African-

American woman who was substantially younger than Plaintiff.

       Legal Issues:

   1. Whether any of the Defendants discriminated against Plaintiff on the basis of

       her race in violation of 42 U.S.C. §1981 and the Fourteenth Amendment’s Equal

       Protection Clause;


                                             8
 Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 9 of 26




2. Whether the City through its agents, the individual Defendants, discriminated

   against Plaintiff on the basis of her race in violation of Title VII;

3. Whether any Defendant retaliated against Plaintiff after she engaged in

   protected activity in violation of 42 U.S.C. §1981;

4. Whether the City through its agents, the individual Defendants, retaliated

   against Plaintiff after she engaged in protected activity in violation of Title VII;

5. Whether the City through its agents, the individual Defendants, discriminated

   against Plaintiff on the basis of her age in violation of the Age Discrimination

   in Employment Act, 42 U.S.C. §§12201 et seq.;

6. Whether the City through its agents, the individual Defendants, discriminated

   against Plaintiff on the basis of her disability in violation of the Americans with

   Disabilities Act, as amended, 42 U.S.C. §12112;

7. Whether Plaintiff is entitled to damages, and if so, the amount and category or

   categories of damages;

8. Whether Plaintiff should be reinstated to her employment with Defendant City

   of Forest Park, or if not, the amount of appropriate front pay damages, if any;

9. Whether Plaintiff is entitled to recover attorneys’ fees and/or costs; and

10. Whether any of Plaintiff’s claims are barred by Defendants’ asserted defenses.




                                         9
      Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 10 of 26




        Plaintiff reserves the right to present additional legal issues to the Court for

consideration as this matter progresses.

(2)     Describe in detail all statutes, codes, regulations, legal principles,
        standards and customs or usages, and illustrative case law which plaintiff
        contends are applicable to this action.

        The statutes, codes and regulations known to be applicable to Plaintiff’s

claims at this time include: 42 U.S.C. §1981; 42 U.S.C. §1983; U.S. Const., Amend.

XIV; Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et

seq.; 29 U.S.C. §621, et seq.; and the Americans with Disabilities Act, as amended,

42 U.S.C. §12101 et seq., 42 U.S.C. §12112, and 42 U.S.C. § 12203.

        Case law applicable to or illustrative of Plaintiff’s claims for race

discrimination, pursuant to Section 1981, Section 1983, Title VII, and the Fourteenth

Amendment to the United States Constitution, includes, but is not limited to,

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973); Bostock v. Clayton Cty.,

Georgia, 140 S. Ct. 1731, 1739–40, 207 L. Ed. 2d 218 (2020); Comcast Corp. v.

National Ass’n of African American–Owned Media, 140 S. Ct. 1009, 1019 (2020);

Lewis v. City of Union City, 918 F.3d 1213 (11th Cir. 2019); Lewis v. City of Union

City, Georgia, 934 F.3d 1169 (11th Cir. 2019); Quigg v. Thomas Cnty. Sch. Dist.,

884 F.3d 1227 (11th Cir. 2016); Smith v. City of New Smyrna, 588 Fed. App’x. 965,

976 (11th Cir. 2014); Holland v. Gee, 677 F.3d 1047, 1056 (11th Cir. 2012); Smith


                                           10
    Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 11 of 26




v. Lockheed-Martin Corp., 644 F.3d 1321, 1328 (11th Cir. 2011); Reeves v.

Sanderson Plumbing Prods., Inc., 530 U.S. 133, 149 (2000); and Combs v.

Plantation Patterns, 106 F.3d 1519 (11th Cir. 1997).

      Case law applicable to or illustrative of Plaintiff’s claims for age

discrimination in violation of the ADEA includes, but is not limited to: Godwin v.

WellStar Health Sys., Inc., 615 F. App’x 518 (11th Cir. 2015); Sims v. MVM, Inc.,

704 F.3d 1327 (11th Cir. 2013); Gross v. FBL Fin. Servs., Inc., 557 U.S. 167 (2009);

Mora v. Jackson Mem’l Found., Inc., 597 F.3d 1201 (11th Cir. 2010); Kragor v.

Takeda Pharm. Am. Inc., 702 F.3d 1304 (11th Cir. 2012); McDonnell Douglas Corp.

v. Green, 411 U.S. 792 (1973); Chapman v. AI Transp., 229 F.3d 1012 (11th Cir.

2000); Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248 (1981); and Brooks v.

Cnty. Com’n of Jefferson Cnty., Ala., 446 F.3d 1160 (11th Cir. 2006).

      Case law applicable to or illustrative of Plaintiff’s claims for disability

discrimination in violation of the ADA, as amended, includes, but is not limited to:

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973); Burlington Northern and

Santa Fe Railway Co. v. White, 548 U.S. 53, 54, 126 S. Ct. 2405 (2006); Lewis v. City

of Union City, 918 F.3d 1213 (11th Cir. 2019); Lewis v. City of Union City, Georgia,

934 F.3d 1169 (11th Cir. 2019); Gilliard v. Georgia Dept. of Corrs., 500 Fed. Appx.

860 (11th Cir. 2012); Wolfe v. Postmaster Gen., 488 Fed. Appx. 465 (11th Cir.


                                         11
      Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 12 of 26




2012); Hillburn v. Murata Elec. N.A., Inc., 181 F.3d 1220 (11th Cir. 1999);McKane

v. UBS Fin. Srvcs., Inc., 363 Fed. Appx. 679, 680 (11th Cir. Jan. 21, 2010); Wofsy

v. Palmshores Ret. Cmty., 285 F. App'x 631, 634 (11th Cir. 2008); Holly v. Clairson

Industries, LLC, 492 F.3d 1247, 1255-56 (11th Cir. 2007); and Rossbach v. City of

Miami, 371 F.3d 1354, 1357 (11th Cir. 2004).

        Plaintiff notes that this list of authority is not exhaustive and anticipates the

need to rely upon additional authority as this litigation progresses.

(3)     Provide the name and, if known, the address and telephone number of
        each individual likely to have discoverable information relevant to
        disputed facts alleged with particularity in the pleadings, identifying the
        subjects of the information. (Attach witness lists to Responses to Initial
        Disclosures as Attachment A.)

       See Attachment A.

(4)     Provide the name of any person who may be used at trial to present
        evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence.
        For all experts described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate
        written report satisfying the provisions of that rule. (Attach expert
        witness list and written reports to Responses to Initial Disclosures as
        Attachment B.)

       Plaintiff has not yet retained any expert witnesses. Plaintiff will amend his

response if and when an expert is retained.

 (5) Provide a copy of, or a description by category and location of, all
     documents, data compilations, and tangible things in your possession,
     custody, or control that are relevant to disputed facts alleged with
     particularity in the pleadings. (Attach document list and descriptions to
     Responses to Initial Disclosures as Attachment C.)

                                           12
      Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 13 of 26




       See Attachment C.

(6)     In the space provided below, provide a computation of any category of
        damages claimed by you. In addition, include a copy of, or describe by
        category and location of, the documents or other evidentiary material,
        not privileged or protected from disclosure, on which such computation
        is based, including materials bearing on the nature and extent of injuries
        suffered, making such documents or evidentiary material available for
        inspection and copying as under Fed. R. Civ. P. 34. (Attach any copies
        and descriptions to Responses to Initial Disclosures as Attachment D.)

       Plaintiff has not yet determined the full amount of damages to which she is

entitled, but makes claim for the following categories of damages:

        1.    Back pay and lost benefits: Plaintiff seeks back pay and lost benefits in

an amount equal to what she would have received but for Defendants’ unlawful

actions culminating in her termination. The precise amount of Plaintiffs’ economic

losses are not known at the present time and continue to accrue. Plaintiff will require

discovery to determine the exact amount of her back pay and other lost benefits of

employment, including but not limited to, the value of any raises he would have

received, lost retirement plan contributions, and other valuable economic benefits of

employment.

        2.    Reinstatement: Plaintiff seeks reinstatement, or in the alternative,

Plaintiff seeks front pay beginning on the date of a jury verdict in her favor.




                                          13
    Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 14 of 26




Plaintiff’s front pay will be calculated in the same manner as her back pay, and will

also include her employment benefits, as well as raises and cost of living increases.

      3.     Compensatory Damages: Plaintiff seeks compensation for non-

monetary losses, including emotional distress. Plaintiff will ask the jury to award an

amount of money for emotional pain and suffering that will fairly compensate her

for the mental and physical pain and suffering endured as a result of the unlawful

acts of Defendants. Plaintiff seeks the maximum amount allowed by law.

      4.     Punitive Damages: Plaintiff seeks punitive damages from the

individual Defendants in an amount commensurate with the harm done and

calculated to be sufficient to deter such conduct in the future. Plaintiff intends to

present the question of punitive damages to the discretion of a fair and impartial jury.

      5.     Liquidated Damages: Plaintiff seeks liquidated damages, pursuant to

29 U.S.C. §626(b), in an amount equal to Plaintiff’s recovery for back pay and lost

benefits and front pay, as applicable.

      6.     Attorney’s fees and costs of litigation: Should Plaintiff become a

prevailing party, she will seek to recover reasonable attorney’s fees and costs

associated with the litigation. Attorney’s fees are calculated by multiplying the

hours expended by Plaintiff’s attorneys by their normal hourly rate. Counsel for

Plaintiff keeps contemporaneous time records for this purpose. Plaintiff’s attorneys’


                                          14
      Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 15 of 26




fees and expenses to date total approximately $24,017.00, and are continuing to

accrue.

        At a mutually convenient time and place, Plaintiff will produce for inspection

all non-privileged documents in her possession, custody and control which may

support her claims for damages. Plaintiff reserves the right to supplement or amend

her damages calculations as discovery progresses.

(7)     Attach for inspection and copying as under Fed. R. Civ. P. 34 any
        insurance agreement under which any person carrying on an insurance
        business may be liable to satisfy part or all of a judgment which may be
        entered in this action or to indemnify or reimburse for payments made to
        satisfy the judgment. (Attach copy of insurance agreement to Responses
        to Initial Disclosures as Attachment E.)

        Any applicable insurance agreements are in the possession of Defendant.

(8)     Disclose the full name, address, and telephone number of all persons or
        legal entities who have a subrogation interest in the cause of action set
        forth in plaintiff’s cause of action and state the basis and extent of such
        interest.

       Not applicable.

              Respectfully submitted, this 2nd day of March, 2022.

                                                     /s/ Edward D. Buckley
                                                     Edward D. Buckley
                                                     Georgia Bar No. 092750
                                                     edbuckley@buckleybeal.com
                                                     J. Kyle Brooks
                                                     Georgia Bar No. 773561
                                                     kbrooks@buckleybeal.com


                                          15
   Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 16 of 26




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Counsel for Plaintiff




                                   16
   Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 17 of 26




                              ATTACHMENT A

Plaintiff Mary C. Terrell      Plaintiff has knowledge of the facts and
c/o Plaintiff’s counsel        circumstances supporting her claims and damages
                               and refuting the Defendants’ defenses.

Sandra Bagley                  This witness is believed to have knowledge of the
Contact information unknown    facts and circumstances surrounding the claims
                               and defenses of the parties, including without
                               limitation, Defendants’ discriminatory
                               termination of Plaintiff and other City employees.
Allan Mears                    This witness is believed to have knowledge of the
Contact information unknown    facts and circumstances surrounding the claims
                               and defenses of the parties, including without
                               limitation, Defendants’ discriminatory
                               termination of Plaintiff and other City employees.
Defendant Angelyne Butler      This witness is believed to have knowledge of the
c/o Defendants’ counsel        facts and circumstances surrounding the claims
                               and defenses of the parties, including without
                               limitation, Defendants’ discriminatory
                               termination of Plaintiff and other City employees.
Defendant Angela Redding       This witness is believed to have knowledge of the
c/o Defendants’ counsel        facts and circumstances surrounding the claims
                               and defenses of the parties, including without
                               limitation, Defendants’ discriminatory
                               termination of Plaintiff and other City employees.
Defendant Latresa Akins-       This witness is believed to have knowledge of the
Wells                          facts and circumstances surrounding the claims
c/o Defendants’ counsel        and defenses of the parties, including without
                               limitation, Defendants’ discriminatory
                               termination of Plaintiff and other City employees.
Defendant Kimberly James       This witness is believed to have knowledge of the
c/o Defendants’ counsel        facts and circumstances surrounding the claims
                               and defenses of the parties, including without
                               limitation, Defendants’ discriminatory
                               termination of Plaintiff and other City employees.
Defendant Dabouze Antoine      This witness is believed to have knowledge of the


                                     17
  Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 18 of 26




c/o Defendants’ counsel       facts and circumstances surrounding the claims
                              and defenses of the parties, including without
                              limitation, Defendants’ discriminatory
                              termination of Plaintiff and other City employees.
Dwayne Hobbs                  This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding his
                              removal as interim City Manager and the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Elaine Corley                 This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of her employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Christopher Matson            This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Susan Riddling                This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of her employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Eddie Buckholts               This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the


                                    18
  Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 19 of 26




                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Jeff Eady                     This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Mike Tuttle                   This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Denise Grilliot               This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of her employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Alfred L. Wiggins             This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Frank Brandon                 This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the Defendants’ removal of his name
                              from a building previously named in his honor
                              and his authorizing Plaintiff to fill a position in


                                    19
  Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 20 of 26




                              the Forest Park Police Department with an
                              investigator.
Jerry Patrick                 This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Steve Fincher                 This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Matt Jackson                  This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Denise Coard                  This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of her employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Regina Ivie                   This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of her employment with the City and
                              the Defendants’ discriminatory employment
                              practices.


                                   20
  Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 21 of 26




Jessica Gassaway              This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of her employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Shalonda Brown                This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of her employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Jamie Reynolds                This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of her employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Darren Duke                   This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Mike Blandenburg              This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims
at this time                  and defenses of the parties, including without
                              limitation, the circumstances surrounding the
                              termination of his employment with the City and
                              the Defendants’ discriminatory employment
                              practices.
Alex Skwira                   This witness is believed to have knowledge of the
Contact information unknown   facts and circumstances surrounding the claims


                                   21
    Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 22 of 26




 at this time                      and defenses of the parties, including without
                                   limitation, the circumstances surrounding the
                                   termination of his employment with the City and
                                   the Defendants’ discriminatory employment
                                   practices.
 Daniel Podsiadly                  This witness is believed to have knowledge of the
 Contact information unknown       facts and circumstances surrounding the claims
 at this time                      and defenses of the parties, including without
                                   limitation, the circumstances surrounding the
                                   termination of her employment with the City and
                                   the Defendants’ discriminatory employment
                                   practices.
 Timothy Pigate                    This witness is believed to have knowledge of the
 Contact information unknown       facts and circumstances surrounding the claims
 at this time                      and defenses of the parties, including without
                                   limitation, the circumstances surrounding the
                                   termination of her employment with the City and
                                   the Defendants’ discriminatory employment
                                   practices.
 Individuals listed in
 Defendants’ Initial Disclosures

 Individuals identified by
 Plaintiff or Defendants in the
 pleadings or in the course of
 discovery.


      Defendant has contact information for all of Defendant City of Forest Park’s

current and former employees. Plaintiff notes that other individuals may have

information that is relevant to this case. Plaintiff expects the identities of these

individuals to come to light during the discovery period in this case. Plaintiff

reserves the right to alter, add to, or amend this list of individuals as discovery in


                                         22
    Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 23 of 26




this matter progresses, either by amendment to these Initial Disclosures or through

the identification of said individuals in depositions or responses to written discovery

requests.




                                          23
    Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 24 of 26




                                ATTACHMENT C

      Plaintiff will produce all non-privileged responsive documents in her custody,

possession or control, which includes:

      1.     Documents and recordings relating to the termination of Ms. Terrell’s

             employment with the City of Forest Park;

      2.     Documents relating to Plaintiff’s Charge of Discrimination filed with

             the EEOC;

      3.     Documents relating to Plaintiff’s job description during her

             employment with the City of Forest Park;

      4.     Copies of Facebook posts made by Defendant Akins-Wells;

      5.     Job posting for City of Forest Park Fire Chief;

      6.     Documents relating to the termination of the employment of other

             former employees of the City of Forest Park; and

      7.     Documents relating to Plaintiff’s disability.

      This list is based on information currently known to Plaintiff, and Plaintiff

will supplement this list and her production as appropriate as discovery progresses.




                                         24
     Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 25 of 26




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARY C. TERRELL,                            )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )     CIVIL ACTION FILE NO.:
                                            )     1:21-CV-04613-MHC-CMS
CITY OF FOREST PARK, et al.                 )
                                            )
Defendants.                                 )

                        CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2022, I electronically filed PLAINTIFF’S

INITIAL DISCLOSURES with the Clerk of Court using the CM/ECF system

which will automatically send email notification of such filing to the following

attorneys of record:

                                 David A. Cole
                             Shaheem M. Williams
                             100 Galleria Parkway
                                   Suite 1600
                            Atlanta, GA 30339-5948

                                            BUCKLEY BEAL LLP

                                            /s/ Edward D. Buckley
                                            Edward D. Buckley
                                            Georgia Bar No. 092750
                                            edbuckley@buckeybeal.com




                                       25
   Case 1:21-cv-04613-MHC-CMS Document 16 Filed 03/02/22 Page 26 of 26




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Atlanta, Georgia 30308
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Facsimile: (404) 781-1101
Counsel for Plaintiff




                                   26
